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                        UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF OHIO
                               EASTERN DIVISION

UNITED STATES OF AMERICA

-vs-                                            Case No. 2:12-cr-001 (1)

SHANE M.S. SARNAC
________________________________


                          REPORT AND RECOMMENDATION
                          CONCERNING PLEA OF GUILTY


        The Defendant, by consent, has appeared before me pursuant to
Rule 11, F.R.Cr.P. and has entered a plea of guilty to Count one (1)
of the Information.    After examining the Defendant under oath
concerning each of the subjects mentioned in Rule 11, I determine that
the defendant is competent and capable of entering an informed plea,
that the guilty plea is knowingly and voluntary made and that the
offenses charged are supported by an independent basis in fact
containing each of the essential elements of such offense.
             The plea agreement contains an agreed sentence and it is up
to the District Judge to determine if the sentence is appropriate.           If
the District Judge does so determine, I RECOMMEND the plea agreement
and the plea of guilty should be accepted and the Defendant should be
adjudged guilty and sentenced accordingly.        Otherwise, the plea
agreement should be rejected and the defendant should be allowed to
withdraw the guilty plea.


The Defendant remains on bond pending sentencing.

Date:        January 20, 2012               /s/ Terence P. Kemp
                                           UNITED STATES MAGISTRATE JUDGE


                                     NOTICE

     Failure to file written objections to this Report and
Recommendation within fourteen (14) days from the date of its service
shall bar an aggrieved party from attacking such Report and
Recommendation before the assigned United States District Judge. 28
U.S.C. Section 636(b)(1)(B).
